Case 3:09-cr-30100-SMY        Document 62        Filed 11/13/09     Page 1 of 1      Page ID #95




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
V.                                              )           Criminal No. 09-30100-WDS
                                                )
ALEJANDRO VILLA-GOMEZ,                          )
                                                )
               Defendant.                       )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Counts 1-3 of the Superseding Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty pleas were knowing and voluntary as to each

count, and that the offenses charged are supported by an independent factual basis containing

each of the essential elements of such offenses. I therefore recommend that the pleas of guilty be

accepted, that a presentence investigation and report be prepared, and that the Defendant be

adjudicated guilty and have sentence imposed accordingly.

       DATED: November 13, 2009
                                                    s/ Clifford J. Proud
                                                    CLIFFORD J. PROUD
                                                    U. S. MAGISTRATE JUDGE

                                            NOTICE

       Failure to file a written objection to this Report and Recommendation within ten (10)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
